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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                   Criminal No. 05-417 (RHK/SRN)

UNITED STATES OF AMERICA,         )
                                  )
                Plaintiff,        )
                                  )     ORDER
v.                                )
                                  )
RICHARD LOUIS ENNEN, III and            )
MARCO ANTHONY IRONI,         )
                             )
              Defendants.    )


     This matter is before the Court upon the defendants’ waiver

of speedy trial and their request that trial in this case

commence   on   December   4,   2006.       Pursuant    to    18   U.S.C.   §

3161(h)(8)(A), the Court finds that the ends of justice served

by the granting of such continuance outweigh the best interest

of the public and the defendant in a speedy trial.             This finding

is based on the reasons set forth orally at the August 28, 2006

status conference in this case, and defendant Ennen’s informal

motion dated October 12, 2006.

     Accordingly, IT IS HEREBY ORDERED that the period from

August 28, 2006 through December 4, 2006,              shall be excluded

from the Speedy Trial Act computations in this case.

     IT IS FURTHER ORDERED that trial shall commence on December

4, 2006.


Dated: November 8, 2006           s/Richard H. Kyle
                                  RICHARD H. KYLE
                                  United States District Judge
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